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E~FILED 2017 [DEC 21 6§24 Ai\/| F’OL.K - CLERK OF D|STR|CT COURT

 

 

 

Robert Ciauss

plaintiff($)
vs.
Gu|f Coast VVeSterh,

defend aht(s)

 

|, PAUL D. PATE, Secretary of State of the State of lowa, do hereby
certify that the attached Origina| Notice & Petitior\ vvere received and filed
in the office of the Secretary of State at 10100 am, December 21, 2017.

EXH|B|T

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PAUL D. PATE SECRETARY OF STATE

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FO/'eign Corporaiion Defondant

in the iowa Dictrict Court for MW Poil< Couniy

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(Namc)

 

 

 

 

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vs. ./“”"1 /i it ¢... v-" ‘ ij \
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Guif Coast Wcstern

(Nnmc)

c/o ‘i\/iarthcw H. i"lceger (rcg. agcnt)
(Address)

14160 Dniias Pari<wny - Stc 500
(Namo)

Dallas, Tx 75254

(Addross)

 

 

 

 

 

TO Defenciont($);

1 You are notified that F’|ointifi(s) demand(c) from you the amount of$ 45QQ 00 WWW,piuo court §§
costs based on (sioto briefly the basis for inc demand not to exceed $5000);';11»
Dofendani; nnci. or its agents made th1ee unsoi1c1£cd sai cs calls to Piointit"f at his home telephone nuinbg§-;nding i11'*1
3665 wliiic S'aid rlumi);r was registered 011 the Do Not Cail List as set out m Exhibit A.

2. dudgmeni may be entered against you unless you file an Appearonco and Answcr as toliowo:

» if you received Service or this Originol Notice by mail along with service upon ihe Secreiary of
Statc, you must file your Appearance and Ancwer within 60 days of the filing of the Original
i\lctice with the Sccretary of Stote. ;~

» if you received service of this Original Noiice in a manner other than by mali. you must file your §
Appearonce Funci /~\ncwer within 60 dayo afterthe date you received the Originai Notice.

 

.3 You must olectronicallyi tile the Apnearanco and Answer using iho iowa Judiciai Branch Ei@ctronlc

Documont i\/lonagcmont Systom (EDMS) ot E:LUAMMWJM§:§
the court an exemption from oiecironic filing requirements

 

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4. if your Appcaroncc and Ancwcr is timely filed and you deny the claim, you will receive electronic
notification through EDMS of the time and place for the hearing on this maiter.

5. ii you electronically filo, EDMS will coer a copy of the Appezarance and Anowcr on Ple\lntiff(o) or on the
attorney(s) for Plaintiff(s s). ‘i"ho Noiico of Elecironlc Filing will indicate if Plaintiit(s ) is (crc) exempt from
§oi(nonic iiiing, and if you must mail a copy of your Appearance and Answor to Pioiniifi(o)

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6 irou\irnust 1113 o notify the clerk s office of any address onongo.

 

 

 

 

 

/3/ 4 " ””1411.,~ /s/

Filing Plaintiff or Aitcrney Sszcond Plainiiii‘, ii applicable

Law Off`tocs of`Da‘/id At___l}_/[oi'se _ ` v
Law iirm, or entity for which filing is made, if applicable Law flrm, cr entity for which filan is mcde, if applicable

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" Case '4:1‘8='Cv-0002'3-“JEG'-'H'CA"" 'Do'c'um'ent" '1'-'-3‘ '~ Fil'ed 01/'25/~1'8"" Page~B 'oi 5

 

E-FILED 2017 DEC 2'| 6:24 Al\/l POLK - CLERK OF D|STR|CT COURT
E~F|hED 20l7 DEC 08 6145 F>l\/l POLK v CLERK OF DlSTRlCT COURT

1010 insurance Bx.i:hungo Building

 

 

 

 

 

 

 

 

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E~FlLED 2017 DEC 21 6324 A|Vl POLK - CLERK OF D|STR|CT COURT

STATE OF EOWA JUDECEARY CBS‘?N°~ 393@608573

Coun£y P Ol k

C@Se T'f'@ ROBERT CLAUSS VS GULF COAST VVESTERN

 

THlS CASE HAS BEEN F|LED lN A COUNTY THAT USES ELECTRON|C F|LlNG. ,,.,l
Therefore unless the attached F’etition and Ol'lgina| Nolioe contains a hearing date for your appearance or unlesé. you obtain `§`Fl“
exemption from the court, you must file your Appearance and Anevver electronically fm §§

613
You must register through the iowa Judicial Branch Websiie at llllg yvv yyvvly iolygoouns elat e. la u file and obtain a |cg' 111 and
password for the purposes of filing end viewing documents on your case and of receiving servlc and notices from the court

 

FOR GENERAL RUL.ES AND lNFOR|VlAT|ON ON ELECTRON|C FlL|NG, REFER TO THE |OWA COURT RULES CHAPTER
16 PERTAlNlNG TO THE USE OF THE ELECTRON|C DOCUN|ENT MANAGEN|ENT SYSTElVl:
htlp; //Www. iov»/aoourtcstammm"le_l@"u"ms/t§_m file

FOR COURT RULES ON PROTECTION OF PERSONAL PR|VACY lN COURT F|L|NGS, REFER TO DlV|SlON Vl OF |OWA
COURT RUL.ES CHAPTER 16: li_llQ;f/vttwvvrioweoourls.state.ia,us/Eiile

 

 

Schedu!ed Hearing:

 

 

lf you require the assistance of auxiliary aids or sen/lees to participate in court because ct a disability immediately call your district
ADA coordinator at (515) 286-3394 . (lf you are hearing lmpalred, call Rolay iowa TTY at1-800-735-2942.)

Datelssued 12/11/201710237;10 A|\/l

 

oism'cr Ct@rl< of Polk C<>uni)/
/S/ Kristy Rasmussen

 

 

 

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LUCAS BUILDING
DEs MOINES, IOWA 50319

PAUL D. PATE
SECRE'I`ARY OF S’I`A'I‘E

 

OFFICE OF THE IOWA SECRETARY OF STATE

Decemloer 21, 2017

POLK COUNTY CLERK
S!VIALL CLAIN|S

500 SVV 7TH ST., ROO|\/| 100
DES MO|NES, |A 50309

RE Robert C|auss vs Gulf Coast Western,
Dear . COUNTY CLERK:
The Origlnal Notice & Petitlon in the above captioned matter are

enclosed Ati:ached is a certificate of service indicating the filing of
the Original Notice & Petition in this office pursuant to the provisions

of Section 617.3, Cocle of lowa.

Peul D. Pate
Secretary of State

Sincerely,

    

   

lVlS/db

 

Phone 515-28 1 ~5204 Fax 5 1 5-242-5953 Sos.iowa.gov sos@sos.iowa.gov

 

 

